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 8                                UNITED STATES DISTRICT COURT
 9                               CENTRAL DISTRICT OF CALIFORNIA
10   AIDA FARG, et al.,                              CV 20-6723 PA (ASx)
11                 Plaintiffs,                       JUDGMENT
12          v.
13   WILLIAM BARR, et al.,
14                 Defendants.
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16          Pursuant to this Court’s November 23, 2020, Minute Order granting the Motion to
17   Dismiss filed by William Barr, Attorney General of the United States, Chad Wolf, Acting
18   Secretary of the Department of Homeland Security, Kenneth Cuccinelli, Senior Official
19   Performing the Duties of the Director of U.S. Citizenship and Immigration Services
20   (“USCIS”), and David Radel, Director of the USCIS Los Angeles Asylum Office
21   (collectively “Defendants”),
22          IT IS HEREBY ORDERED, ADJUDGED, AND DECREED that the action
23   commenced by plaintiffs Aida Farg, George Fam, and Mark Ibrahim (collectively
24   “Plaintiffs”) is dismissed without prejudice.
25          IT IS HEREBY ORDERED, ADJUDGED, AND DECREED that Plaintiffs take
26   nothing and that Defendants have their costs of suit.
27    DATED: November 23, 2020                        ___________________________________
28                                                               Percy Anderson
                                                        UNITED STATES DISTRICT JUDGE
